               Case 2:11-cr-00428-JAM Document 132 Filed 10/01/12 Page 1 of 1


1    BENJAMIN B. WAGNER
     United States Attorney
2    RICHARD J. BENDER
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2731
5
                                IN THE UNITED STATES DISTRICT COURT
6
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
7
8
     UNITED STATES OF AMERICA,                     )         Case No. S 11-0428 GEB
9                                                  )
                            Plaintiff,             )         STIPULATION EXTENDING THE TIME
10                                                 )         FOR THE GOVERNMENT TO RESPOND
            v.                                     )         TO DEFENDANT’S MOTION TO ALLOW
11                                                 )         MENTAL HEALTH DEFENSE; ORDER
     BRYAN SMITH,                                  )
12                                                 )
                            Defendant.             )
13                                                 )
14
            The government’s response to the defendant’s motion to allow mental health defense is due
15
     on September 28, 2012. Because of other pressing work, government counsel needs an additional
16
     few days to finish the response and proposes that the due date be extended to Wednesday, October 3,
17
     2012 (although government counsel hopes to file it earlier). Opposing counsel has been contacted
18
     and has no opposition to the request. No other changes in the schedule of the hearing of this motion
19
     are requested at this time. Therefore it is requested that the time for the government response to the
20
     defendant’s motion be extended to October 3, 2012. [Speedy trial time has already been excluded.]
21
22   Dated: September 28, 2012                     BENJAMIN B. WAGNER
                                                   U.S. Attorney
23
                                                   by     /s/ Richard J. Bender
24                                                        RICHARD J. BENDER
                                                          Assistant U.S. Attorney
25
26   It is SO ORDERED.                                    _________________________
27   10/1/12                                              GARLAND E. BURRELL, JR.
                                                          Senior United States District Judge
28
